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VIA ECF                                                                                                      July 23, 2010
Hon. David R. Homer
United States Magistrate Judge
United States District Court
Northern District of New York
United States Courthouse
Albany, NY 12207

Re:     SEC v. McGinn, Smith & Co., Inc., et al.
        10 CV 457 (GLS) (DRH)

Dear Judge Homer:

The proposed Preliminary Injunction Order provided to the Court by the attached
June 8, 2010 letter from the SEC (Docket No. 58) has not yet been signed by the Court.

Since the Court has issued its July 7, 2010 decision granting the preliminary injunction,
as Receiver, I respectfully submit that the entry of the Preliminary Injunction Order at
this time would be appropriate to aid in the administration of the estates.

I am copying by e-mail and ECF the parties of record including the recently substituted
counsel for Messrs. McGinn and Smith as well as predecessor counsel, Michael Koenig,
Esq. All parties have consented to the entry of the Preliminary Injunction Order.

Very truly yours,

Phillips Lytle LLP


By /s/ William J. Brown

William J. Brown

EEEht
Doc # XX-XXXXXXX.1




                                                      ATTORNEYS AT LAW
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cc:   Martin H. Kaplan, Esq.
      Michael Koenig, Esq.
      James Featherstonhaugh, Esq.
      Jill Dunn, Esq.
      David Stoelting, Esq.
